                                                                        CASREF,CLOSED,DTE,REOPENED
                                    U.S. District Court
                          DISTRICT OF ARIZONA (Phoenix Division)
                    CIVIL DOCKET FOR CASE #: 2:21−cv−01890−SPL−JFM

Baskin v. Thomas et al                                        Date Filed: 11/08/2021
Assigned to: Judge Steven P Logan                             Date Terminated: 09/21/2023
Referred to: Magistrate Judge James F Metcalf                 Jury Demand: Plaintiff
Demand: $700,000                                              Nature of Suit: 555 Prisoner: Prison Condition
Cause: 42:1983 Prisoner Civil Rights                          Jurisdiction: Federal Question
Plaintiff
Benton Gene Baskin                              represented by Benton Gene Baskin
also named as: Benton G. Baskin                                #52888
                                                               HUTCHINSON−KS−HUTCHINSON
                                                               D−1/#215
                                                               HUTCHINSON CORRECTIONAL FACILITY
                                                               P.O. BOX 1568
                                                               HUTCHINSON, KS 67504
                                                               PRO SE


V.
Defendant
Todd Thomas
Warden/ Regional Director at CoreCivic/
Saguaro Correctional Center
TERMINATED: 10/04/2022

Defendant
Gerald Walker
LPN at CoreCivic/ Saguaro Correctional
Center
TERMINATED: 10/04/2022

Defendant
Marci Gottfredson
RN at CoreCivic/ Saguaro Correctional Center
TERMINATED: 10/04/2022

Defendant
Unknown Westbrook                               represented by Courtney T Lacaillade
Supervisor at TransCorporation of America                      Struck Love Bojanowski & Acedo PLC
                                                               3100 W Ray Rd., Ste. 300
                                                               Chandler, AZ 85226
                                                               480−420−1600
                                                               Email: CLacaillade@strucklove.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                                       Dana M Keene
                                                                       Struck Love Bojanowski & Acedo PLC
                                                                       3100 W Ray Rd., Ste. 300
                                                                       Chandler, AZ 85226
                                                                       480−420−1620
                                                                       Fax: 4804−420−1695
                                                                       Email: DKeene@strucklove.com
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

                                                                       Daniel Patrick Struck
                                                                       Struck Love Bojanowski & Acedo PLC
                                                                       3100 W Ray Rd., Ste. 300
                                                                       Chandler, AZ 85226
                                                                       480−420−1600
                                                                       Email: dstruck@strucklove.com
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

Defendant
Daniel Schnurr
Warden at Hutchinson Correctional Facility
Central
TERMINATED: 10/04/2022

Defendant
Unknown Giaboian                                         represented by Matthew Shoger
Special Operations Response Team (S.O.R.T.)                             Kansas Attorney Generals Office
Lieutenant at Hutchinson Correctional Facility                          120 SW 10th Ave., 2nd Fl.
Central                                                                 Topeka, KS 66612
                                                                        785−296−2215
                                                                        Fax: 785−291−3767
                                                                        Email: matthew.shoger@outlook.com
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

Defendant
Unknown Diaz                                             represented by Matthew Shoger
Special Operations Response Team (S.O.R.T.)                             (See above for address)
Sergeant/ Officer at Hutchinson Correctional                            LEAD ATTORNEY
Facility Central                                                        ATTORNEY TO BE NOTICED


 Date Filed                 #        Docket Text

 11/08/2021                     Ï1   PRISONER CIVIL RIGHTS COMPLAINT filed by Benton Gene Baskin. (28 Pages
                                     and Envelope) (Attachments: # 1 Envelope) (REK) (Entered: 11/09/2021)

 11/08/2021                     Ï2   APPLICATION for Leave to Proceed In Forma Pauperis by Benton Gene Baskin. (5
                                     Pages) (REK) (Entered: 11/09/2021)

 11/08/2021                     Ï3   MOTION to Appoint Counsel by Benton Gene Baskin. (2 Pages) (REK) (Entered:
                                     11/09/2021)
11/08/2021    Ï4    NOTICE OF ASSIGNMENT (REK) (Entered: 11/09/2021)

11/18/2021    Ï5    Mail Returned as Undeliverable. Mail sent to Benton Gene Baskin. Reason for return:
                    Return to Sender: Refused − Unable to Forward. Document number 4. (REK)
                    (Entered: 11/18/2021)

12/15/2021    Ï6    ORDER: Plaintiff's Application to Proceed In Forma Pauperis 2 is denied without
                    prejudice. Within 30 days of the date this Order is filed, Plaintiff must either pay the
                    $350.00 filing fee and $52.00 administrative fee or file a complete Application to
                    Proceed In Forma Pauperis and a certified six−month trust account statement. If
                    Plaintiff fails to either pay the $350.00 filing fee and $52.00 administrative fee or file a
                    complete Application to Proceed In Forma Pauperis within 30 days, the Clerk of Court
                    must enter a judgment of dismissal of this action without prejudice and without further
                    notice to Plaintiff and deny any pending unrelated motions as moot. Plaintiff's motion
                    for the appointment of counsel 3 is denied. Signed by Judge Steven P Logan on
                    12/15/2021. (Attachments: # 1 IFP Forms Packet) (REK) (Entered: 12/15/2021)

12/27/2021    Ï7    Mail Returned as Undeliverable. Mail sent to Benton Gene Baskin. Reason for return:
                    Return to Sender: Released. Document number 6. (REK) (Entered: 12/28/2021)

02/03/2022    Ï8    *VACATED per Order 11 *CLERK'S JUDGMENT − Pursuant to the Court's Order
                    filed December 15, 2021, judgment of dismissal is entered. Plaintiff to take nothing,
                    and the complaint and action are dismissed without prejudice. (DXD) Modified on
                    8/16/2022 (REK). (Entered: 02/03/2022)

02/14/2022    Ï9    Mail Returned as Undeliverable. Mail sent to Benton Gene Baskin. Reason for return:
                    Return to Sender, Released. Document number 8 . (LAD) (Entered: 02/15/2022)

08/04/2022   Ï 10   Letter from Plaintiff (1 page). (DXD) (Entered: 08/05/2022)

08/16/2022   Ï 11   ORDER: The February 3, 2022 Judgment 8 is vacated, and the Clerk of Court must
                    reopen this case. Within 30 days of the date this Order is filed, Plaintiff must either
                    pay the $350.00 filing fee and $52.00 administrative fee or file a new complete
                    Application to Proceed In Forma Pauperis and a certified six−month trust account
                    statement. If Plaintiff fails to either pay the $350.00 filing fee and $52.00
                    administrative fee or file a new complete Application to Proceed In Forma Pauperis
                    within 30 days, the Clerk of Court must enter a judgment of dismissal of this action
                    without prejudice and without further notice to Plaintiff and deny any pending
                    unrelated motions as moot. The Clerk of Court must update Plaintiff's address of
                    record to that reflected in his Letter 10 and send Plaintiff a copy of the notice of
                    assignment, Doc. 4 , and copies of the Order and Judgment filed in this case, Docs. 6
                    and 8 . Signed by Judge Steven P Logan on 8/15/2022. (Attachments: # 1 Forms
                    Packet) (REK) (Entered: 08/16/2022)

09/12/2022   Ï 12   NOTICE re: Payment of Filing Fee by Benton Gene Baskin re: 11 Order. (7 Pages)
                    (REK) (Entered: 09/13/2022)

09/19/2022   Ï 13   Filing fee: $402.00, receipt number 200001824. PAID IN FULL. (BAS) (Entered:
                    09/20/2022)

10/04/2022   Ï 14   ORDER (Service Packet): Counts I and III are dismissed without prejudice.
                    Defendants Thomas, Walker, Gottfredson, and Schnurr are dismissed without
                    prejudice. Defendants Giaboian, Diaz, and Westbrook must answer Count II as set
                    forth herein. The Clerk of Court must send Plaintiff a service packet including the
                    Complaint 1 , this Order, and both summons and request for waiver forms for
                    Defendant Giaboian, Diaz, and Westbrook. Plaintiff must complete and return the
                    service packet to the Clerk of Court within 21 days of the date of filing of this Order.
                    The United States Marshal will not provide service of process if Plaintiff fails to
                    comply with this Order. If Plaintiff does not either obtain a waiver of service of the
                    summons or complete service of the Summons and Complaint on a Defendant within
                    90 days of the filing of the Complaint or within 60 days of the filing of this Order,
                    whichever is later, the action may be dismissed as to each Defendant not served. This
                    matter is referred to Magistrate Judge James F. Metcalf pursuant to Rules 72.1 and
                    72.2 of the Local Rules of Civil Procedure for all pretrial proceedings as authorized
                    under 28 U.S.C. § 636(b)(1). See document for further details. Signed by Judge Steven
                    P Logan on 10/03/2022. (REK) (Entered: 10/04/2022)

12/02/2022   Ï 15   SERVICE EXECUTED: Rule 4 Waiver of Service of Summons. Waiver sent on
                    11/02/2022 to Unknown Westbrook. (REK) (Entered: 12/05/2022)

12/06/2022   Ï 16   SERVICE EXECUTED: Rule 4 Waiver of Service of Summons. Waiver sent on
                    11/02/2022 to Unknown Giaboian. (REK) (Entered: 12/07/2022)

12/06/2022   Ï 17   SERVICE EXECUTED: Rule 4 Waiver of Service of Summons. Waiver sent on
                    11/02/2022 to Unknown Diaz. (REK) (Entered: 12/07/2022)

12/19/2022   Ï 18   SERVICE EXECUTED: USMS Process Receipt and Return re: Summons, Complaint,
                    and Order upon Unknown Giaboian on 12/14/2022. (REK) (Entered: 12/20/2022)

12/19/2022   Ï 19   SERVICE EXECUTED: USMS Process Receipt and Return re: Summons, Complaint,
                    and Order upon Unknown Diaz on 12/14/2022. (REK) (Entered: 12/20/2022)

01/03/2023   Ï 20   MOTION to Dismiss for Lack of Jurisdiction by Unknown Westbrook. (Attachments:
                    # 1 Exhibit A and B)(Struck, Daniel) (Entered: 01/03/2023)

01/03/2023   Ï 21   *MOTION to Dismiss for Failure to State a Claim, MOTION to Dismiss for Lack of
                    Jurisdiction, MOTION to Change Venue/Transfer Case to District of Kansas by
                    Unknown Diaz, Unknown Giaboian. (Shoger, Matthew) *Modified to correct motion
                    type, add motions to dismiss for lack of jurisdiction and to change venue, and
                    corrected text on 1/4/2023 (REK). (Entered: 01/03/2023)

01/03/2023   Ï 22   *MEMORANDUM in Support of 21 Motion to Dismiss for Failure to State a Claim,
                    Motion to Dismiss for Lack of Jurisdiction, Motion to Change Venue/Transfer Case to
                    District of Kansas by Defendants Unknown Diaz, Unknown Giaboian. (Shoger,
                    Matthew) *Modified to add document link on 1/4/2023 (REK). (Entered: 01/03/2023)

01/04/2023   Ï 23   ORDER: Plaintiff has through February 6, 2023 to respond to Defendant Westbrook's
                    Motion to Dismiss, filed January 3, 2023 (Doc. 20 ). Defendants have fifteen days
                    from service of the response to file a reply. The Motion to Dismiss will be deemed
                    ready for decision without oral argument on the day following the date set for filing a
                    reply unless otherwise ordered by the Court. Signed by Magistrate Judge James F
                    Metcalf on 1/04/2023. (REK) (Entered: 01/04/2023)

01/04/2023   Ï 24   ORDER: Plaintiff has through February 6, 2023 to respond to Defendant Diaz and
                    Giaboian's Motion to Dismiss or in the Alternative Transfer, filed January 3, 2023
                    (Doc. 21 ). Defendants have fifteen days from service of the response to file a reply.
                    The Motion to Dismiss will be deemed ready for decision without oral argument on
                    the day following the date set for filing a reply unless otherwise ordered by the Court.
                    Signed by Magistrate Judge James F Metcalf on 1/04/2023. (REK) (Entered:
                    01/04/2023)

02/07/2023   Ï 25   MOTION for Extension of Time to File Response/Reply as to 20 MOTION to Dismiss
                    for Lack of Jurisdiction by Benton Gene Baskin. (5 Pages) (REK) (Entered:
                    02/08/2023)
02/07/2023   Ï 26   MOTION for Extension of Time to File Response/Reply as to 21 MOTION to Dismiss
                    for Failure to State a Claim MOTION to Dismiss for Lack of Jurisdiction MOTION to
                    Change Venue/Transfer Case by Benton Gene Baskin. (4 Pages) (REK) (Entered:
                    02/08/2023)

02/07/2023   Ï 27   NOTICE by Benton Gene Baskin re: 25 MOTION for Extension of Time to File
                    Response/Reply as to 20 MOTION to Dismiss for Lack of Jurisdiction , 26 MOTION
                    for Extension of Time to File Response/Reply as to 21 MOTION to Dismiss for
                    Failure to State a Claim MOTION to Dismiss for Lack of Jurisdiction MOTION to
                    Change Venue/Transfer Case. (1 Page) (REK) (Entered: 02/08/2023)

02/24/2023   Ï 28   ORDER: Plaintiff's Motion to Extend 25 is GRANTED. Plaintiff's Motion to Extend
                    26 is GRANTED. Plaintiff has through March 6, 2023 to respond to the Motion to
                    Dismiss for Lack of Jurisdiction 25 . Plaintiff has through March 6, 2023 to respond to
                    the Motion to Dismiss for Lack of Jurisdiction or in the Alternative to Transfer 26 .
                    Signed by Magistrate Judge James F Metcalf on 2/24/2023. (REK) (Entered:
                    02/24/2023)

03/07/2023   Ï 29   MOTION to Appoint Counsel by Benton Gene Baskin. (27 Pages) (REK) (Entered:
                    03/07/2023)

03/07/2023   Ï 30   MOTION for Extension of Time to File Response/Reply as to 21 MOTION to Dismiss
                    for Failure to State a Claim MOTION to Dismiss for Lack of Jurisdiction MOTION to
                    Change Venue/Transfer Case by Benton Gene Baskin. (5 Pages) (REK) (Entered:
                    03/07/2023)

03/07/2023   Ï 31   MOTION for Extension of Time to File Response/Reply as to 20 MOTION to Dismiss
                    for Lack of Jurisdiction by Benton Gene Baskin. (3 Pages) (REK) (Entered:
                    03/07/2023)

03/10/2023   Ï 32   ORDER: Plaintiff's Motion to Appoint Counsel 29 is DENIED WITHOUT
                    PREJUDICE. Signed by Magistrate Judge James F Metcalf on 3/10/2023. (REK)
                    (Entered: 03/10/2023)

03/14/2023   Ï 33   *RESPONSE to Motion (Notice of Non−Opposition) re: 31 MOTION for Extension
                    of Time to File Response/Reply as to 20 MOTION to Dismiss for Lack of Jurisdiction
                    filed by Unknown Westbrook. (Lacaillade, Courtney) *Modified to correct event and
                    text on 3/15/2023 (REK). (Entered: 03/14/2023)

03/24/2023   Ï 34   ORDER: Plaintiff's Motion to Extend 30 is GRANTED. Plaintiff has through April 5,
                    2023 to respond to Defendants Diaz and Giaboian's Motion to Dismiss or in the
                    alternative to Transfer 21 . Plaintiff's Motion to Extend 31 is granted. Plaintiff has
                    through April 5, 2023 to respond to Defendants Westbrook's Motion to Dismiss 20 .
                    Signed by Magistrate Judge James F Metcalf on 3/24/2023. (REK) (Entered:
                    03/24/2023)

05/30/2023   Ï 35   STRICKEN pursuant to 37 −− RESPONSE to Motion re: 21 MOTION to Dismiss for
                    Lack of Jurisdiction, RESPONSE to Motion re: 21 MOTION to Dismiss for Failure to
                    State a Claim, MOTION to Change Venue/Transfer Case filed by Benton Gene
                    Baskin. (10 Pages) (REK) Modified on 6/7/2023 (WLP). (Entered: 05/31/2023)

05/30/2023   Ï 36   STRICKEN pursuant to 37 −− RESPONSE to Motion re: 20 MOTION to Dismiss for
                    Lack of Jurisdiction filed by Benton Gene Baskin. (41 Pages) (Attachments: # 1
                    Exhibit)(REK) Modified on 6/7/2023 (WLP). (Entered: 05/31/2023)

06/06/2023   Ï 38   MOTION to Appoint Counsel by Benton Gene Baskin. (10 Pages) (REK) (Entered:
                    06/08/2023)
06/07/2023   Ï 37   ORDER − A. Plaintiff's Response (Doc. 35 ) to the Motion to Dismiss for Lack of
                    Jurisdiction, for Failure to State a Claim, or Motion to Transfer (Doc. 21 ) be
                    STRICKEN. B. Plaintiff's Response (Doc. 36 ) to the Motion to Dismiss (Doc. 20 ) be
                    STRICKEN. See document for complete details. Signed by Magistrate Judge James F
                    Metcalf on 6/7/2023. (WLP) (Entered: 06/07/2023)

06/09/2023   Ï 39   ORDER: Plaintiff's Motion to Appoint Counsel 38 is DENIED WITHOUT
                    PREJUDICE. Signed by Magistrate Judge James F Metcalf on 6/09/2023. (REK)
                    (Entered: 06/09/2023)

07/17/2023   Ï 40   ORDER AND ORDER TO SHOW CAUSE − The reference to the Magistrate Judge is
                    withdrawn as to Defendant Westbook's Motion to Dismiss and KDOC Defendants'
                    Motions to Dismiss or Transfer to the District of Kansas (Docs. 20 , 21 ). Defendants'
                    Motions (Doc. 20 , 21 ) are granted in part insofar as the Court finds it lacks personal
                    jurisdiction and venue over Plaintiff's claims, and these claims must be transferred or
                    dismissed; the Motions are otherwise denied. Within 15 days of this Order, Plaintiff
                    must show cause in writing why this action should be transferred to the District of
                    Kansas instead of dismissed. If Plaintiff does not respond to the Order to Show Cause
                    within 15 days or does not show cause why this action should be transferred to the
                    District of Kansas instead of dismissed, the Court will dismiss this action in its entirety
                    for lack of personal jurisdiction over Defendants. Signed by Judge Steven P Logan on
                    7/17/23. (SMF) (Entered: 07/17/2023)

07/26/2023   Ï 41   *MOTION for Reconsideration re: 40 Order by Unknown Diaz, Unknown Giaboian.
                    (Shoger, Matthew) *Modified to add document link on 7/27/2023 (REK). (Entered:
                    07/26/2023)

07/26/2023   Ï 42   MEMORANDUM in Support of Memo 41 MOTION for Reconsideration by
                    Defendants Unknown Diaz, Unknown Giaboian. (Shoger, Matthew) (Entered:
                    07/26/2023)

08/07/2023   Ï 43   MOTION for Extension of Time to File Response/Reply as to 40 Order to Show Cause
                    by Benton Gene Baskin. (6 Pages) (REK) (Entered: 08/08/2023)

08/09/2023   Ï 44   ORDER: Plaintiff's Motion to Extend 43 is GRANTED. Plaintiff has through August
                    21, 2023 to respond to the Order to Show Cause 40 . Signed by Magistrate Judge
                    James F Metcalf on 8/09/2023. (REK) (Entered: 08/09/2023)

08/14/2023   Ï 45   *VACATED by 47 * ORDER: The reference to the Magistrate Judge is withdrawn as
                    to the KDOC Defendants' Motion for Reconsideration 41 and the Motion is denied as
                    moot. The Court's Order to Show Cause 40 is discharged because the time to respond
                    has expired, and Plaintiff did not file a timely response. This action is dismissed
                    without prejudice for lack of personal jurisdiction and venue; the Clerk of Court must
                    enter judgment accordingly. Signed by Judge Steven P Logan on 8/14/2023. (REK)
                    Modified on 8/17/2023 (REK). (Entered: 08/14/2023)

08/14/2023   Ï 46   *VACATED by 47 * CLERK'S JUDGMENT − Pursuant to the Court's order filed
                    August 14, 2023, Plaintiff to take nothing, and the complaint and action are dismissed
                    without prejudice. (REK) Modified on 8/17/2023 (REK). (Entered: 08/14/2023)

08/17/2023   Ï 47   ORDER that the Court's August 14, 2023 Order 45 and the Clerk's Judgment 46 are
                    vacated. Plaintiff's deadline to respond to the Order to Show Cause 40 remains August
                    21, 2023. Signed by Judge Steven P Logan on 8/17/2023. (REK) (Entered:
                    08/17/2023)

08/25/2023   Ï 48   RESPONSE TO ORDER TO SHOW CAUSE re: 40 Order, Order to Show Cause,
                    Terminate Motions by Plaintiff Benton Gene Baskin. (16 Pages and Envelope) (REK)
                    (Entered: 08/28/2023)

09/05/2023   Ï 49   RESPONSE re: 46 Clerks Judgment, 45 Order by Plaintiff Benton Gene Baskin. (6
                    Pages) (REK) (Entered: 09/07/2023)

09/21/2023   Ï 50   ORDER: The reference to the Magistrate Judge is withdrawn as to KDOC Defendants'
                    Motion for Reconsideration 41 , and the Motion is denied. Plaintiff's obligation to
                    respond to the Court's Order to Show Cause 40 is discharged. The Clerk of Court must
                    transfer this action to the United States District Court for the District of Kansas
                    pursuant to 28 U.S.C. § 1406(a). The Clerk of Court must close this case. Signed by
                    Judge Steven P Logan on 9/21/2023. (REK) (Entered: 09/21/2023)
